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RCH/SK/EMR/PP/MED
F. #2019R00927

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
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UNITED STATES OF AMERICA

       - against -                               Docket No. 19-CR-576 (BMC)

GENARO GARCIA LUNA,

                           Defendant.

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 GOVERNMENT’S REPLY MEMORANDUM IN FURTHER SUPPORT OF ITS MOTION
       FOR AN ANONYMOUS AND PARTIALLY SEQUESTERED JURY




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                                  PRELIMINARY STATEMENT

                The government respectfully submits this reply brief in further support of its motion

for an anonymous and partially sequestered jury. See Dkt. No. 80 (“Gov’t’s Mot.”). In his

opposition brief, the defendant does not contest that the charges against him are serious, that the

Sinaloa Cartel inspires fear, that the Indictment alleges that defendant used his position as a

government official to aid and abet the Sinaloa Cartel, or that this case continues to generate

significant press coverage. Nor does he address the government’s proposal for mitigating any

prejudice that might follow from an anonymous and partially sequestered jury. Instead, the

defendant contends that (1) because he is not charged with violent conduct, the charges are not

serious enough to warrant an anonymous and partially sequestered jury; (2) the defendant poses

no threat to the judicial process and has no ability to interfere with it; (3) the publicity surrounding

this case is unlikely to interfere with the jurors’ ability to perform their duty; (4) COVID-19 and

economic concerns counsel against a partially sequestered jury; and (5) an anonymous and

partially sequestered jury will unconstitutionally burden his presumption of innocence. See Dkt.

No. 88 (“Def.’s Opp’n”). For the reasons discussed below and in the Government’s Motion,

however, an anonymous and partially sequestered jury is both warranted and appropriate under the

facts of this case and governing case law.

                                             ARGUMENT

                The Government’s Motion explained the need for an anonymous and partially

sequestered jury given the seriousness of the charges, the fear caused by the Sinaloa Cartel’s

campaign of violence in the United States and around the world, the defendant’s abuse of the

judicial process and the extensive press coverage this case has received.             The defendant’s

arguments to the contrary should be rejected.




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               First, the defendant concedes that the charges he faces are serious. Def.’s Opp’n

at 13. He argues, however, that the charges are not serious enough to warrant an anonymous jury

because he is not a member of the Sinaloa Cartel and because he was charged with accepting

bribes, not with committing violent acts. This argument ignores that the government has alleged

that, while operating as a high-ranking Mexican government official and indeed because of that

fact, the defendant conspired with the Sinaloa Cartel and utilized his position to facilitate the

Cartel’s trafficking of narcotics and allow the Cartel to commit extraordinarily violent acts.

               An individual does not need be charged with directly participating in violence for

an anonymous and partially sequestered jury to be warranted. Indeed, courts routinely grant such

applications where a defendant is alleged to have provided material support to terrorist

organizations. See, e.g., United States v. Kasimov, No. 15-CR-95 (WFK), Dkt. No. 398 (E.D.N.Y.

Sep. 11, 2019) (granting government’s request for an anonymous, partially sequestered jury in

case involving defendant charged with conspiring and attempting to provide material support to

ISIS); United States v. Pugh, No. 15-CR-116 (NGG), 2015 WL 8481877 (E.D.N.Y. Dec. 9, 2015)

(“The question is not whether Defendant himself poses a threat to the jury, but rather whether there

is good reason to believe that the jury needs protection.”).

               As argued in its opening motion, at trial, the government expects that numerous

witnesses will testify about the Sinaloa Cartel’s violent acts and that the defendant, the highest

ranking law enforcement official in Mexico with authority over many other police officers

government officials, was a crucial member of the conspiracy.1 The government also anticipates




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        The government responded to the defendant’s request for a bill of particulars on May 1,
2022, and agreed to review its Jencks Act material and identify those materials that can be
produced to the defendant well in advance of trial on a rolling basis for early disclosure,



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that evidence at trial will establish that the defendant directly contributed to the violent acts of the

Sinaloa Cartel by providing government personnel and resources to the Sinaloa Cartel to aid its

violent conduct. Thus, the allegations in the Indictment and the proffered trial evidence establish

the potential dangerousness of the defendant and his co-conspirators, as “demonstrated by the

seriousness of the charged crimes, including whether the defendant is charged with participating

in a large scale criminal enterprise.” United States v. Wilson, 493 F. Supp. 2d 397, 398 (E.D.N.Y.

2006).

                Second, the defendant attempts to argue that he or his criminal associates pose no

threat of interference to the judicial process by comparing his alleged conduct to that of his

co-conspirator Joaquín Guzman Loera. While this case does not involve the same public threats

that materialized in Guzman Loera’s case, there is still a substantial risk to the jury. The

defendant’s argument that accepting bribes has no bearing on whether he poses a threat to the

integrity of the judicial process ignores the fact that the defendant used and abused his position of

public trust to aid and abet one of the most violent and notorious criminal organizations in the

world. In addition to accepting bribes, the defendant used his position to direct other law

enforcement officers to operate on the Sinaloa Cartel’s behalf and disclosed confidential law

enforcement information about investigations into the Cartel, directly undermining the integrity of

the judicial process. The allegations in the Indictment and the proffered trial evidence paint a clear

picture of a defendant who has no qualms about interfering with the functioning and the integrity

of the judicial process.




understanding that there is no legal authority requiring such advanced production, in order to
facilitate the defendant’s trial preparation.



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               The defendant also argues that he has no current ability to interfere with the judicial

process because his assets have been restrained. Def.’s Opp’n. at 12. This argument is belied by

the discovery produced in this case, which reflects that the defendant has obscured his ownership

of multiple properties in the United States and that his family has moved and hid millions of dollars

of unexplained wealth during the pendency of his criminal case. As just one example, in May

2020, one of the defendant’s companies funneled $350,000 to a real estate associate and then used

that associate to fund personal expenses for the defendant’s family through at least 2021.

               As the Second Circuit has stated, “even a general fear of retaliation could well affect

the jury’s ability to render a fair and impartial verdict.” United States v. Thomas, 757 F.2d 1359,

1364 (2d Cir. 1985). There is a legitimate concern in this case that jurors may fear that an associate

of the defendant or a member of the Sinaloa Cartel will target them if their identities are made

public during trial. See United States v. Stewart, 590 F.3d 93, 125 (2d Cir. 2008) (noting “the

reasonable likelihood that the pervasive issue of terrorism would raise in the jurors’ minds a fear

for their individual safety”). Accordingly, an anonymous jury is also warranted because legitimate

concerns and fears raised by potential jurors could risk interference with the judicial process.

               Third, the defendant concedes that there has been press coverage of this case and

that there will likely be press coverage of the trial but argues that because the defendant is not as

notorious as his co-conspirator Guzman Loera, an anonymous jury is unwarranted. Def.’s Opp’n

at 15–16. Of course, the question is not whether the defendant’s trial will receive as much press

attention as Guzman Loera’s.

               When analyzing the question of whether the trial is likely to attract media attention

and publicity, “the question does not turn on the volume of pre-trial news coverage alone; rather,

courts consider both the amount and nature of the publicity.” United States v. Ashburn, No. 13-




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CR-0303 (NGG), 2014 WL 5800280, at *12 (E.D.N.Y. Nov. 7, 2014). With respect to the amount

of publicity, the Second Circuit in United States v. Vario held that the district court did not err in

determining that significant media attention was likely at trial, even though only one pre-trial

article had been written. 943 F.2d 236, 240 (2d Cir. 1991). Here, as described in the Government’s

Motion, there have been a substantial number of articles written about the defendant’s case and

there is likely to be a large number of publications covering the trial.2

               The defendant suggests that a gag order restricting press reporting about the jurors

could better accomplish the objective of protecting the jury in this case. Def.’s Opp’n at 17. But

Second Circuit case law makes clear that a prior restraint restricting publication of juror identities

is itself “one of the most extraordinary remedies known to our jurisprudence”; indeed, the Second

Circuit has directed courts to consider jury anonymity as an alternative to prior restraints

forbidding the publication of juror identities. See United States v. Quattrone, 402 F.3d 304, 312

(2d Cir. 2005) (district court’s order forbidding media publications from publishing juror names

violated the First Amendment); see also United States v. Wilson, 925 F. Supp. 2d 410, 412

(E.D.N.Y. 2013) (“Before the court may impose any sort of ‘gag order,’ it must, among other

things, determine whether other available remedies would effectively mitigate the prejudicial

publicity. . . . These possible measures include . . . an anonymous jury and sequestration of

jurors.”) (internal quotation marks and citations omitted). And such prior restraint, even if legally




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          The defendant argues that COVID-19 protocols will restrict the amount of foreign press
that attends the trial and that the jury may not see the press in the courtroom. Def.’s Opp’n at 15.
The defendant’s speculation on what COVID protocols will be in place six months from now
should not alter the Court’s analysis; indeed, some courts in this district have begun allowing
members of the public into the courtroom to view trials. See United States v. Singh, No.
21-CR-397 (CBA) (E.D.N.Y.). Further, regardless of the COVID protocols in the courtroom, the
jury will be able to observe press outside the courthouse as the press often takes photographs and
attempts to question individuals entering and leaving the courthouse during high profile trials.


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justified, would not protect the jury from interference or harm by the defendant and his criminal

associates.

               Fourth, the defendant argues that partial sequestration during trial poses an

unacceptable risk to the jurors’ health and safety given the ongoing COVID-19 pandemic. Def.’s

Opp’n at 17–18. The government takes COVID-19 and the risks posed by the pandemic seriously

and will of course work with the Court to ensure that proper safety measures are in place during

trial. But the defendant has offered no facts or argument that support a finding that the jurors

would face any heightened risk from “close contact” with the limited number of United States

Marshals Service personnel escorting them when compared to the contacts any member of society

has on a daily basis, whether on the subway, bus, taxi or any other mode of transportation that

jurors would likely take to travel to and from the courthouse. And any heightened risk could of

course be mitigated by the jurors and the U.S. Marshals Service wearing masks during these brief

periods of transportation.

               The defendant primarily cites Judge Johnson’s decision in United States v.

Augustine in support of his argument that a partially sequestered jury poses an unacceptable risk

to the health of the jury. No. 18-CR-393, Dkt. Nos. 152 & 158 (E.D.N.Y. June 16, 2021) (granting

the government’s request for an anonymous jury but denying its request for partial sequestration).

Augustine was decided in June 2021, when less than 50% of New Yorkers were fully vaccinated

against COVID-19. Id. at 3. Today, 84% of adult New York State residents are fully vaccinated.

See https://coronavirus.health.ny.gov/vaccination-progress-date (last visited May 6, 2022). While

the COVID-19 pandemic remains ongoing, there are appropriate measures that can be put in place

to protect the health of the jurors. The defendant’s concerns that partial sequestration will increase




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the risk of contracting COVID-19 is unwarranted and does not outweigh the other factors which

strongly support the need for a partially sequestered jury.

               Fifth, the defendant argues that an anonymous and partially sequestered jury will

impermissibly infringe on his constitutional rights and prejudice the jury against him. Def.’s

Opp’n at 17, 18–20. However, as explained in the Government’s Motion, the use of an anonymous

jury does not infringe on a defendant’s rights provided that (1) “the jurors [are given] a plausible

and nonprejudicial reason for not disclosing their identities”; and (2) “the court conducts a voir

dire designed to uncover any bias as to the issues or the defendants.” United States v. Aulicino,

44 F.3d 1102, 1116 (2d Cir. 1995).

               The defendant claims the jurors will “automatically assume that revealing their

names would put themselves at harm and, thus, he is a person they should fear.” Def.’s Opp’n at

17. This argument ignores the government’s proposal that that the Court advise the jury that their

names are not being disclosed to the government, the defendant or the public out of respect and

concern for their privacy, and that transportation is being provided for them to protect their privacy

and to ensure that the trial can proceed expeditiously. Gov’t Mot. at 17–18. The jurors may also

accurately be informed that their identities are being withheld due to anticipated media interest,

which would prevent any arguable inference that the defendant himself poses a danger to them.

See e.g., United States Kaziu, 559 F. App’x 32, 38 (2d Cir. 2014) (“the district court told jurors

that their identities were being hidden only because of the extensive media coverage and did not

implicate [the defendant’s] dangerousness”); United States v. Tutino, 883 F.2d 1125, 1133 (2d Cir.

1989) (upholding anonymous jury procedure where the jury was instructed that “It is a common

practice followed in many cases in Federal court to keep the names and identities of the jurors in

confidence. This is in no way unusual.”); United States v. Kelly, No. 19-CR-286 (AMD), 2020




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WL 8482693, at *3 (E.D.N.Y. Oct. 8, 2020) (explanation that “anonymous jurors are

commonplace in high profile cases because of media interest” will not unduly burden defendant);

United States v. Loera, No. 09-CR-466 (BMC), Dkt. No. 187 at 4 (E.D.N.Y. Feb. 5, 2018) (“any

potential prejudice to the defendant will be mitigated when the Court advises the jury that their

names are not being publicly disclosed out of respect and concern for their privacy . . . and []

neither the Government nor the defendant will know their identities”). The Court should have

confidence in time-tested methods for protecting the integrity of the judicial process.

               Further, the use of an anonymous jury will not conflict with the defendant’s right

to conduct meaningful voir dire. The Court has substantial discretion in controlling and limiting

the voir dire process. See Rosales-Lopez v. United States, 451 U.S. 182, 189 (1981) (“federal

judges have been accorded ample discretion in determining how best to conduct the voir dire”);

United States v. Barnes, 604 F.2d 121, 137 (2d Cir. 1979) (trial court has “broad discretion” in

conducting voir dire). A full voir dire may be conducted about subjects other than the juror’s

name, address and employer’s name, and the parties and counsel will have an unrestricted

opportunity to observe the jurors during this process. Accordingly, under the circumstances

presented, empaneling an anonymous jury will not prejudice the defendant.




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                                        CONCLUSION

              For the foregoing reasons, the government respectfully requests that the Court grant

the Government’s Motion for an anonymous and partially sequestered jury.

Dated:        Brooklyn, New York
              May 6, 2022


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